                         IN TI-TE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA
                                                     Case No


 ANGEL BORRERO, et. al



                                AFFIDAVIT IN SUPPORT OF
                                 CRIMINAL COMPLAINT
      l, Matthew Loucks, a Special Agent of the Federal Bureau of Investigation ("FBI"), New

Flaven Division, having been duly sworn, state


                     INTRODUCTION AND AGENT BACKGROUND.

        1.     I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in Section 2516 of Title I 8 of the United Sates Code. I have been employed as a Special Agent

with the FBI since March 2020. I am a graduate of the FBI Training Academy in Quantico,

Virginia, where I received training in diverse criminal matters, interviewing, interrogation,

evidence collection, intelligence analysis, and legal matters, among other topics. Prior to my

employment as a Special Agent for the FBI, I spent five years employed as an Intelligence Analyst

for the FBI, and four years ernployed as a Contractor Analyst for the Department of Treasury,

Financial Crimes Enforcement Network ("FinCEN").

       2.      I am currently assigned to the FBI New Haven Violent Crimes.Squad which is
comprised of special agents from the FBI, with troopers from the Connecticut State Police, and

with detectives and officers of various area police deparlments. In my current role, my particular
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emphasis is the investigation of matters including, but not lirnited to, robberies (including bank

robberies and lJobbs Act robberies), carjackings, firearm violations, mass killings, fugitives,

kidnappings, assaults on federal officers, and murders-for-hire. Prior to my current role on the

Violent Crimes Squad, I was assigned to the FBI Bridgeport Safe Streets Task Force ("BSSTF").

Tlie BSSTF is comprised of special agents frorn the FBI and the Bureau of Alcohol, Tobacco,

Firearms, and Explosives ("ATF"), with troopers frorn the Connecticut State Police, and with

detectives and officers of various area police departments, including the Bridgeport Police

Depaftment ("BPf)"), Norwalk Police Department, and Trumbull Police Department. The focus of

the investigative efforts of the BSSTI,' is crime related to violence, guns, and drugs, often

perpetrated by organized groups or gangs.

       3.      During the course of rny career as a FBI Special Agent, FBI Intelligence Analyst,

and FinCEN Intelligence Analyst, I have participated in investigations of diverse crimes, including

investigations into suspected homicides, kidnappings, narcotics trafficking, violent criminal

activity, racketeering, and money laundering. My participation in these investigations has included

assisting in the controlled purchase of narcotics utilizing confidential sources; writing arid

executing search and arrest warrants; providing testimony in federal grand jury and state coutt

proceedings; analyzing records related to narcotics trafficking, violent crirninal activity, and

money laundering or other violations of the Bank Secrecy Act; reviewing andanalyzing cellular

records and cell site location information; and reviewing and analyzing social media records and

inforrnation. I have participated in investigations into national and transnational organized

criminal enterprises, including violent street gangs and large-scale narcotics trafficking

organizations. I have attended gang and narcotics trainirrgs sponsored by federal law enforcement.

Finally, I have participated in investigations involving the use of court-authorized interception of

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wire and electronic communications.

         4.      I arn the case agent that has directed the investigation that is the subject of this
Affidavit, in conjunction with members of the Danbury Police Depaftrnent ("DPD") in Danbury,

CT. As a result of my participation in this investigation and information received fi'om other law

enforcement officers, I am farniliar with the circumstances of the investigation and the information

set fortl, in this affidavit. This affidavit is intended to show that there is sufficient plobable cause

for the requested arrest warrants and does not set forth all rny knowledge about this matter.

         5.      Further, I am a "federal law enforcement officer" within the meaning of the Federal

Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent authorized to enforce criminal

laws as duly authorized by the Attorney General to request a search warrant.

        6.       I submit this affidavit in support of a crirninal cornplaint and arrest warrants for

ANGEL BORRERO ("BORRERO"), a.k.a. "CHI CHI"; JOSUE ALBERTO ROMERO

("ROMERO") a.k.a. "SWAY"; REYNALDO DIAZ ("DIAZ"), a.k.a. "REY"; ANTHONY PENA

("PENA") a.k.a. "TONY"; MICHAEL RIVAS ("RIVAS"); and RICARDO ESTRADA

("ESTRADA") a.k.a. "RICK," whose dates of birth are known to law enforcement, charging them

with a violation of Title 1 8, United States Code, Section 371 (Conspfuacy), Title 1 8, lJnited States

Code, Section 2119 (Carjacking), and Title 18, United States Code, Section 2 (Aiding and

Abetting) (here i nafter, the " Subj ect Vi o I ations").

        7   .    Because this affidavit is submitted for the lirnited purpose of establishing probable

cause for the requested criminal complaint, it does not include all information gathered to date by

the FBI and other law enforcement entities in relation to this investigation. Rather, it contains

infonnation that I believe establishes probable cause to believe that BORRERO, ROMERO,

DIAZ, PENA, RIVAS, and ESTRADA cornrnitted violations of Subject Violations.

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           8.      This Court lias julisdiction to issue the proposed warrant because it is a "magistrate

judge within the district" where the property at issue was seized. Fed. R. Crim. P. 41 (bxl).

                                     THE TARGBTS             R E ARRRSTET)

           9.      The FBI and DPD are investigating BORRERO, ROMERO, DIAZ, PENA,

RIVAS, and ESTRADA. For the reasons set forth below, there is probable cause to believe

BORRERO, ROMERO, DIAZ, PENA, RIVAS, and ESTRADA were involved in tlie Subject

Violations.

           10. BORRERO , a.k.a. "CFII CIJI", is a23-year-old male and a resident of Miarni,
           I   L   ROMERO, a.k.a. "SWAY", is a26-year-old male and a resident of Miami, Florida.

           12. DIAZ, a.k.a. "REY", is a 20-year-old male and a resident of Belle Clade, Florida.
           13. PENA, a.k.a. "TONY", is a23-year-old male and a resident of Miami Gardens,
Florida.

           14.     RIVAS is an 18-year-old male and a resident of Miami, Florida.

           15      ESTRADA, a.k.a. "RICK", is a2l-year-old male and a resident of Miami, Florida.

                                          PROBABI ,R CAI]SE

           16. On August 25,2024, DPD Officers were dispatched to Clapboard Ridge Road and
Dogwood Lane, in Danbury, CT, based on a report of an abduction. DPD received 911 calls from

multiple witnesses who obselved several males assaulting another male and forcing the rnale

victim into a white work van. DPD Patrol units were advised of three suspect vehicles, including

a white Honda Civic and a Ram ProMaster van (commonly referred to as a sprinter van).

           17. DPD Officers observed a white Rarn ProMaster bearing CT Combination
Registration C231907 on Clapboard Ridge Road, near the intersection of East Gate Road. A DPD

Officer activated his patrol vehicle emergency lights and sirens and attempted to stop the van,

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which accelerated at a high rate of speed, passing vehicles recklessly. The van eventually crashed

and became disabled in the area of 47 Cowperthwaite Street, Danbury, approximately 1.2 miles

from where DPD O{ficers attempted to initiate the stop.

        18. At this time, four male suspects dressed in all black, later identified as BORRERO,
ROMERO, PENA, and DIAZ, exited the Rarn ProMaster van and fled on foot. Moments later,

DPD Officers located the disabled van, which had struck a curb and had come to rest against a

street sign.

        19. Patrol units established a perimeter around the surrounding area of Cowperthwaite
Street, south of where the van became disabled, and the last direction of travel provided for

BORRERO, ROMERO, PENA, and DIAZ.It should be noted that several witnesses saw these

four suspects exit the van but could not provide descriptive infonnation abor-rt the suspects other

than that they were wearing dark clothing. It is believed, based on statements made by the victims,

S.C. and R.C., the suspects were wearing face coverings when they fled the disabled van,

preventing witnesses and tl're victirns from making definitive identifications.

        20. A DPD Officer, known to the affrant, entered the wooded area south of
Cowperthwaite Street, between Starr Avenue and the I-84 highway. The DPD Officer quickly

located a Coach Brand wallet belonging to S.C., who I have learned is one of the victims in this

case, near a small stream. The DPD Officer followed the srnall stream southbound and located

DIAZ, who was shoeless, and hiding under the substructure of a bridge. After a brief foot pursuit,

DPD Officers tool< DIAZ into custody.

        21. As two DPD Officers exited the woods with DIAZ, they observed BORRERO in a
wooded area between Starr Avenue and I-84. BORRERO fled on foot across I-84, crossing six

highway larres and traveling toward Prince Street. Two more DPD Officers entered a fenced-in

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alea near tlie direction BORRERO fled towards and located BORRERO hiding in the tall grass.

At this tirne, BORRERO was takerr into custody.

        22.    Shortly thereafter, a DPD Officer on l(ohanza Street, near the intersection of Prince

Street, approxirnately .3 rniles from where the van was disabled, was flagged down by a resident

who stated an unknown male was hiding behind 16 Prince Street. The DPD Officer entered the

fenced-in area behind the house, and located PENA who was taken into custody.

       23.     At approxirnately 6:59 PM, DPD Dispatch received call for a subject hiding behind

15 Prirrce Street, where two DPD Officers subsequently located ROMERO hiding in a wooded

area and took him into custody.

       24.     At the tirne of their arrests, BORRERO, PENA, DIAZ, and ROMERO all wore

dark clothing. BORRERO, PENA, DIAZ, and ROMERO were all apprehended within a quafter-

mile radius from where the Ram ProMaster van was disabled, and all were located in a fenced-in

or wooded area in an apparent attempt to evade the Police.

       25. When DPD Officers arrived atthe location of the disabled van, an Officer located
the victims, S.C. and R.C., bound with dr"rct tape around their arms and legs in the back of the van.

S.C. was also bound around his face and eyes with duct tape. S.C. had significant injuries to his

face and arm, including large hematomas above and under his eyes and swelling to his left arm.

       26.     S.C. and R.C. advised DPD Officers on scene that they had been forcibly removed

from their vehicle, dragged into the van, and bound with duct tape. S.C. and R.C. were transported

to Danbury Hospital for further evaluation.

       27.     DPD Detectives responded to the Danbury Hospital Emergency Room and spoke

with the victims, S.C. and R.C., who advised the Deteotives that earlier that evening, they were

operating a2024 Larnborghini Urus. S.C. was the driver and R.C. was the front seat passenger. As

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the victirns turned onto Damia Drive in Danbury, CT, their vehicle was rear-erlded by a white

Honda Civic. At this point, according to S.C. and R.C., a white work van cut in front of their

vehicle, and several individuals surrounded the victims' vehicle. S.C. estirnated that approximately

6 or 7 men wearing all black, with black face masks, surrounded their car. The rnale suspects began

to yell at S.C. and R.C., instrr"rcting them to exit the vehicle. The suspects then forcibly pulled S.C.

and R.C. from their vehicle by their arms and dragged them towards the open side door of the

white work van.

        28.     S.C. advised that he began to resist, attempting to break free from the suspects'

grasp, at which time several of the suspects began to strike S.C. in the face with punches and a

baseball bat. The suspects repeatedly told S.C. and R.C. that they would "kill them." The victims

were pushed into the back of the work van and held down. The suspects then bound both victirns'

arms and feet with silver duct tape, which they also used to cover S.C.'s face. The suspects forced

R.C. to lie face down and ordered her not to look at thern. R.C. complained to the suspects that she

could not breathe and that she had asthma. S.C. stated that he continued to resist and was struck

approxirnately seven to eight tirnes with a baseball bat and five to six times with punches. These

strikes were to S.C.'s face and to his left arm as S.C. atternpted to protect his face with his left arm.

        29.     S.C. and R,C. heard police sirens shortly after the van began to move. At this time,

S.C. and R.C. told law enforcernentthat one of the suspects in the back of the van started to yell

something like, "Call Rick... we are in deep shit," and instructed the driver to drive fast. It is

believed that the suspects were referring to Ricardo ESTRADA, who was later arrested at a

residence on Painter Hill Road, Roxbury, CT, for his involvement in this incident. S.C. and R.C.

felt the van crash and stated all the suspects exited the vehicle and fled on foot. S.C. arrd R.C. noted

that several individuals, including the Danbury Police, ran to them and began to tend to them.

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       30.     lmrnediately after the suspects stole the Larnborghini and forced the victims into

the white var1, a FBI Sr-rpervisory Special Agent happened to be in the Clapboard Ridge Road and

King Street area, when he observed the Ram ProMaster van followed by a white Honda Civic. The

FBI SSA stated that the behaviors of the vehicles appeared suspicious, and he attempted to follow

thern. The FBI SSA was able to capture apartial of tlie license plate of the Flonda Civic (87347),

which a DPD Sergeant searched in NCIC/COLLECT. The DPD Sergeant located a possible match

on a2018 Honda Civic bearing CT Reg 8N87347, registered to Mongoose Enterprises LLC.

       31. A DPD Detective later contacted the registered owtlel'of the white 2019 Ram
ProMaster van with CT Cornbination registration C231907 , recovered at 47 Cowperthwaite Street.

The owner advised that he rented the van using tlie rental company Turo. The owner advised that

the car was rented by BORRERO and BORRERO picked up the van on Friday, August 23,2024,

at approximately 2:00 AM. The owner advised that the car was due back on August 25,2024, al

6:30 PM but was not returned.

       32.     DPD Officers also located a Nissan Sentra, bearing Florida Registration 70DQJD,

registered to Enterprise rental company, at the corner of Clapboard Ridge Road and Darnia Drive,

in the area S.C. and R.C. were abducted. This vehicle was abandoned on the side of Clapboard

Ridge Road. In plain view, Officers observed a Louis Vuitton purse on the front passenger seat,

consistent with the one belonging to R.C. A DPD Detective contacted the Enterprise law

enforcement line about the Nissan Sentra and was advised BORRERO rented the Nissan Sentra.

       33. DPD Officers were unable to locate the 2024 Larnborghini Urus on Damia Drive,
where S.C. and R.C. were abducted. The DPD put out a BOLO to all units for the Larnborghini

Urus, which was believed to have a temporary registration card hanging frorn the rear of the

vehicle. During the investigation, an unknown resident from East King Street, Danbury, CT,

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contacted DPD dispatch and advised of a Larnborghinithat appeared abandoned in tlie woods off

the roadway on East l(ing Street in Danbury. Urrits located a Larnborghini Urus bearing a New

Jersey temporary registration, abandoned and unoccupied in the woods. This vehicle was seized

and towed to the Danbury Police Department. I know based on my training and experience that

Larnborghinis are manufactured in ltaly and thus the stolen car must have been transported,

shipped, or received interstate and foreign commerce to arrive in Connecticut.

       34. As part of this investigation, I interviewed an individual with relevant information
about the planned carjacking. That individual told me and other officers that BORRERO paid for

the six suspects to travel frorn Florida to New York, NY on or about August 23-24,2024, and that

some of them spent the night together in New York City on August 23,2024. They then travelled

to Connecticut, where they stayed at a house in Roxbury, Connecticut (described in more detail

below). The individual explained that on the day of the attempted carjacking, the suspects traveled

in three separate cars (a white Honda sedan, a van, and a dark silver Nissan sedan) to tl-re victims'

residence in Danbury, CT. They then conducted surveillance on the victims' home and vehicle, a

Lamborghini, and when the Larnborghini left the residence, the suspects followed in the three

vehicles. At some point, the individual explained that the white Honda rear-ended the Lamborghini

and then four of the suspects jumped out of the three vehicles, rernoved the victims from their car,

and forced them into the back of the van where they were restrained with duct tape. This account

is consistent with what law enforcement learned from the victims, R.C. and S.C.

       35.     As part of this investigation, law enforcement agents (including your affiant) liave

reviewed a group text message chat which included cell phones belonging to ROMERO,

BORRERO, DIAZ, PENA, and two otlier individuals utilizing telephor,e numbers ending 6964

and 8276,later identified as ESTRADA and RIVAS, respectively. That text rnessage conversation

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reveals that that BORRERO organized, paid for, and booked flights for the six suspects to travel

from Florida to the New York area. In the messages, BORRERO asl<ed the other suspects for their

ernail addresses to complete the flight bookings, and then sent flight confirmations to the other

suspects.

       36.     In the group text conversation, BORRERO stated "lf this go good we outto Cali

rlext". Based on my training and experience, I believe BORRERO was advising the other suspects

that if their planned crirninal conduct in Connecticut went well, they would travel to California to

conduot furtl,er crin-rinal activity. In response, ROMERO responded, "Tbh [wliich I know to be

sliorthand for "to be honest"] this group right here perfect for dis." Based on my training and

experience, I believe ROMERO meant that he and the other five suspects were the right group to

oonduct the carjacking that occurred in Danbury, CT two days later. That same evening, ROMERO

sent another text message to the group chat stating, "Chichi we are more ready than ever." Based

on my training and experience, I believe ROMERO was advising BORRERO that the group was

prepared and ready to conduct the planned carjacking that occurred in Danbury, CT two days later.

       37. Further review of the group chat revealed that in the early morning hours of August
25,2024, the suspects began to prepare for the carjacking that occurred later that evening. DIAZ

sent a text message to the group asking, "is anyone else awake?" PENA, using telephone number

errding T26l,responded "We good till we get called I think... Chichi still sleep". Based on my

training and experience, I believe PENA advised the group that they did not have to do anything

until someone received a telephone call with further instructions for the suspects. DIAZ

subsequently responded, "we leave aroundT-8". Based on my training and experience, I believe

DIAZ was advising the remaining suspects they would leave the Airbnb to travelto Danbury, CT

between 7:00 AM and 8:00 AM.

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        38.    Further text messages show that tlie six suspects were actively engaged in

surveillance neasures of the victims of the subsequent carjacking throughout the afternoon ol'

August 25,2024.

        39. As part of this investigation, I have viewed a video, timestamped 5:43 PM on
August 25,2023, of one ofthe suspects, believed to be ESTRADA, driving the stolen Larnborghini

after the carjackirig occurred. The video was recorded by cell phone by one of the other suspects

driving the white Honda sedan, believed to be RIVAS. I can see in the video that the driver of the

stolen Lamborghini appears to be searching for a place to leave and hide the vehicle, which he

ultirnately does off the roadway on East King Street. I have reviewed the GPS coordinates of the

video, which show that it was filmed on East King Street in Danbury.

        40. Based on the details recovered frorn the group text message thread between the
suspects involved in this incident/investigatiot-r, investigators determined two additional suspects

were not apprehended. Based on the information recovered from the group text message described

above, we believed those suspects to be RIVAS and ESTRADA.

       41. DPD Detectives searched telephone numbers ending 6964 and 8276 through law
enforcernent databases subscribed to the City of Danbury, which returned carrier information for

T-Mobile for both numbers.

       42.     Based on information from the group text message, we also determined the suspects

in this incident rented an Airbnb located on Painter Hill Road in Roxbury, CT. The residence at

on Painter Hill Road is a four-bedroom, large white horne with a hot tub in the rear and a long,

gravel driveway, which is consistent with information learned during the investigation about where

the suspects wete staying. I have also reviewed text messages that show shared location

information and advise the six suspects to return to a house on Painter Hill at approxirnately 5:36

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PM orr August 25,2024, which is wl-ren this ir,cider,t occurred,

        43. DPD Detectives cornpleted an emergency request forrn fbr T-Mobile based on the
severity of the incident, and the possibility the rernaining suspects could alter or destroy evidence

before their apprehension. T-Mobile subsequently provided records which revealed telephone

number ending 6964 (the phone number belonging to ESTRADA) was pinging in an area

consistent with the device being located on Painter Hill Road, Roxbury, CT.

       44. Based on the investigation, we believed the two outstanding suspects, RIVAS and
ESTRADA, returned to the house on Painter Hill Road in the white Honda Civic. Accordingly,

DPD Detectives, Special Agents of the FBI, irrcluding your affiant, and Connecticut State Police

Troopers responded to the residence on Painter Hill Road, Roxbury, CT early in the morning on

August 26,2024.

       45. Upon our arrival atthe house on Painter Hill Road, Roxbury, CT, we located the
aforementioned Honda Civic, which had heavy front-end damage, parked and unoccupied in the

driveway of the residence. The darnage to the car is consistent with the accounts of S.C. and R.C.,

who told law enfbrcernent that their vehicle was rear-ended by the white Honda Civic, which began

the carjacking. Officers subsequently made contact with RIVAS and ESTRADA, who were inside

the residence on Painter Hill Road. Botli parties exited the residence and were taken into custody

without incident and eventually transported to the DPD. The Honda Civic was towed to the

Danbury Police Headquafters.

       46.     Investigators subsequently cleared the residence to confirrl no other individuals

were inside the residence. During the search, investigators observed in plain view: two cellular

devices, two black balaclava-style fuce rnasks, and two jump ropes, all of which were seized. The

balaclava masks were consistent with the face masks provided in descriptions of the suspects by

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both victims. The jump ropes were consistent with the jump ropes foundin the Ram ProMaster

van. It is believed that these jump ropes were likely planned to be used to restrain the victims.

       47. All six suspects were charged with various Connecticut state offense, including
Interfering with Officer/Resisting, Larceny of a Motor Vehicle - 1't Offense, Conspiracy to

Cornmit/Larceny of a Motor Vehicle -         ls Offense, Reckless Endangerment - 1't Degree,
Conspiracy to Commit/Robbery by Carjacking Enhancement, Conspiracy to Commit/Unlawful

Restraint - l't Degree, Kidnapping - l't Degree, Assault - 1't Degree, Unlawful Restraint - 1't

Degree, Robbery by Carjacking Enhancement, Conspiracy to Commit/Assault -                l't Degree,
Reckless Driving, Breach of Peace - 2nd Degree, Conspiracy to Commit/Reckless Endangerment

   1't Degree, Evading Responsibility with Injury/Property Damage, Conspiracy to
Commit/Kidnapping * l't Degree, and Engaging Police in Pursuit.

                                         CONCLUSION

       48.     Based upon the information above, I respectfully submit that there is probable cause

to believe, and I do believe, that on or about August 25, 2024, BORRERO, ROMERO, DIAZ,

PENA, RIVAS, and ESTRADA violated Title 18, United States Code, Section 371 (Conspiracy),

Title 18, United States Code, Section 2ll9 (Carjacking), and Title 18, United States Code, Section

2 (Aiding and Abetting). Therefore, I respectfully seek the issuance of arest warrants for
BORRERO, ROMERO, DIAZ, PENA, RIVAS, and ESTRADA based on the accompanying

criminal complaint.




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                                         Respectfully submitted,



                                     MATTHEW LOU
                                     Special Agent
                                     Federal Bureau of Investigation


Subscribed and sworn to before me
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THE HON. S. DAVE VATTI
UNITED STATES MAGISTRATE TUDG6




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